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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                             DELTA DIVISION

TOMAS VALE VALDIVIA                                                   PETITIONER
Reg #33468-018

V.                          No. 2:22-cv-00247-LPR-ERE

USA1                                                                  RESPONDENT
                        RECOMMENDED DISPOSITION

       This Recommendation for dismissal has been sent to United States District

Judge Lee P. Rudofsky. You may file objections if you disagree with the findings or

conclusions set out in the Recommendation. Objections should be specific and

include the factual or legal basis for the objection.

       Objections must be filed within fourteen days. If you do not object, you risk

waiving the right to appeal questions of fact, and Judge Rudofsky can adopt this

Recommendation without independently reviewing the record.

I.     SUMMARY

       On November 9, 2022, Tomas Vale Valdivia, an inmate at the Federal

Correctional Institution in Forrest City, Arkansas, filed a motion in the United States

District Court for the Southern District of Florida, seeking jail credit toward the

federal sentence he is currently serving. Doc. 2. On December 20, 2022, construing


       The proper Respondent is the person who has custody over Petitioner. See 28 U.S.C. §
       1

2242. Accordingly, the Clerk of the Court is directed to change Respondent to “C. Edge,
Acting Warden, FCI – Forrest City.”
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Mr. Valdivia’s motion as a petition for habeas relief under 28 U.S.C. § 2241, the

Southern District of Florida transferred the matter to this Court in accordance with

28 U.S.C. § 1406(a). Doc. 1.

       For the reasons explained below, Mr. Valdivia’s habeas petition should be

dismissed, without prejudice, for failure to exhaust his administrative remedies.

II.    BACKGROUND

       On August 29, 2019, Mr. Valdivia was charged by complaint in the Southern

District of Florida with conspiracy to encourage and induce aliens to come, enter,

and reside in the United States, in violation of 8 U.S.C. 1324(a). United States v.

Valdivia, No. 1:19-cr-20651-KMW, ECF No. 1 (S.D. Fla, Aug. 29, 2019). At that

time, Mr. Valdivia was confined in the Lee County, Florida Downtown Jail on state

criminal charges. Accordingly, on September 12, 2019, the Southern District of

Florida entered a writ of habeas corpus ad prosequendum2 (Id., ECF No. 6), and the

United States Marshal took temporary physical custody of Mr. Valdivia on

September 18, 2019. Doc. 18-1, Attach. 6 (filed under seal).

       On November 12, 2019, Mr. Valdivia pleaded guilty to the federal conspiracy

charge, and on January 28, 2020, the Southern District of Florida sentenced him to




       2
         The issuance of a writ of habeas corpus ad prosequendum did not alter Mr. Valdivia’s
custody status, and he remained under the primary jurisdiction of the State of Florida. See Munz
v. Michael, 28 F.3d 795, 798 (8th Cir. 1994).


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serve 57 months in the Bureau of Prisons (“BOP”). Id., ECF Nos. 39, 40.

       On March 12, 2020, the United States Marshal returned Mr. Valdivia to the

physical custody of the state of Florida. Doc. 18-1, Attach. 6 (filed under seal). On

June 10, 2020, Mr. Valdivia pleaded guilty to two state charges that had remained

pending against him during his time in federal custody. Doc. 18-1 at 44. The state

court sentenced Mr. Valdivia to 283 days in jail but granted him 283 days of jail

credit. Id. at 46-47.

       On June 26, 2020, Mr. Valdivia was released from state custody, and he

entered exclusive, federal custody. Id. at 2, Attachs. 10, 6 (filed under seal). After

Mr. Valdivia began serving his federal sentence, the BOP awarded him jail credit

for two periods of time he spent in custody, which were not applied to his state

sentence: (1) June 21, 2019 through August 31, 2019; and (2) June 11, 2020 through

June 25, 2020.3 Id. at 52-54.

       On November 9, 2022, Mr. Valdivia filed a motion through counsel in the

Southern District of Florida, seeking additional jail credit toward his federal

sentence. Mr. Valdivia argues that he is entitled to “an additional 150 days of credit

time served . . . from August 31, 2019, the date of the [f]ederal [h]old . . . until . . .

sentencing on January 28, 2022.” Doc. 2 at 1.

       3
          A federal prisoner is not entitled to credit on a federal sentence for time spent in service
of a state sentence. 18 U.S.C. § 3585(b); U.S. v. Kramer, 12 F.3d 130, 132 (8th Cir.1993).


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        On December 20, 2022, the Southern District of Florida correctly recognized

Mr. Valdivia’s motion as a petition for habeas relief under 28 U.S.C. § 2241 and

transferred the petition to this District, the district of incarceration. Doc. 1.

        On March 1, 2023, Respondent filed a response, asserting that the Court

should dismiss the petition because Mr. Valdivia failed to exhaust his administrative

remedies before filing the petition and, alternatively, that Mr. Valdivia is not entitled

to any additional jail credit. Doc. 18.

        On March 28, Mr. Valdivia filed a reply, maintaining his argument that he is

entitled to an additional 150 days of jail credit. Alternatively, Mr. Valdivia argues

that even if the State of Florida retained primary jurisdiction over him from

September 12, 2019 through March 12, 2020, he is still entitled to an additional 16

days of jail credit from June 10, 2020 (when the state court sentenced him to time

served) through June 26, 2020 (when he entered exclusive federal custody). Doc. 24

at 1.

        On March 20, 2023, Respondent filed a surreply, noting that the BOP has

awarded Mr. Valdivia sentencing credit for the period from June 11, 2020 through

June 25, 2020. Doc. 26 at 2.

        The BOP website, as of May 30, 2023, shows that Mr. Valdivia has a projected

release date of May 23, 2024.4


        4
            See www.bop.gov/inmateloc/ (last accessed May 30, 2023).
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III.   DISCUSSION

       A federal inmate must normally exhaust his administrative remedies before

seeking habeas relief under § 2241. Willis v. Ciccone, 506 F.2d 1011, 1015 (8th Cir.

1974). Although this judicially created exhaustion requirement is not mandated by

statute or a jurisdictional prerequisite, see Lueth v. Beach, 498 F.3d 795, 797 n.3 (8th

Cir. 2007), it serves several purposes, including:

       (1) the development of the necessary factual background upon which
       the claim is based; (2) the exercise of administrative expertise and
       discretionary authority often necessary for the resolution of the dispute;
       (3) the autonomy of the prison administration; and (4) judicial
       efficiency from the settlement of disputes at the prison level.

Mason v. Ciccone, 531 F.2d 867, 870 (8th Cir. 1976) (citing McKart v. United States,

395 U.S. 185, 194-195 (1969)).

       The BOP has a four-step administrative process for resolving inmate

grievances: (1) an attempt at informal resolution with prison staff; (2) submission of

a formal grievance to the Warden, on form BP-9, delivered to the institution staff

member designated to it; (3) an appeal of an unfavorable Warden’s decision to the

appropriate Regional Director, on form BP-10; and (4) an appeal of an unfavorable

Regional Director’s decision to the General Counsel, on form BP-11. See 28 C.F.R.

§§ 542.13–542.18. Proper exhaustion of administrative remedies “‘means using all

steps that the agency holds out, and doing so properly (so that the agency addresses




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the issues on the merits).’” Woodford v. Ngo, 548 U.S. 81, 90 (2006) (quoting Pozo

v. McCaughtry, 286 F.3d 1022, 1024 (7th Cir. 2002) (emphasis in original).

       Here, Mr. Valdivia does not dispute that he failed to take any steps toward an

administrative remedy before seeking federal habeas relief; nor does he argue that

the exhaustion requirement should be excused in his case.5

       Exhaustion serves a vital role, especially in this context. The Attorney

General, through the BOP, is statutorily charged with computing a defendant’s

sentencing credit after the defendant begins serving his sentence.6 United States v.

Wilson, 503 U.S. 329, 334–35 (1992); see also United States v. Pardue, 363 F.3d

695, 699 (8th Cir. 2004); 18 U.S.C. § 3585(b). If an inmate disagrees with any aspect

of the BOP’s sentence computation, the proper avenue for relief is administratively

through the BOP, followed by judicial review under 28 U.S.C. § 2241. Mathena v.

United States, 577 F.3d 943, 946 (8th Cir. 2009) (citations omitted) (“A prisoner

may bring a habeas action challenging the BOP’s execution of his sentence only if




       5
         The Eighth Circuit has recognized that federal courts may craft exceptions to judicially
created exhaustion requirements “‘where injustice might otherwise result, to consider questions of
law which were neither pressed nor passed upon by the ... administrative agency below.’” Frango
v. Gonzales, 437 F.3d 726, 728–29 (8th Cir. 2006) (quoting Hormel v. Helvering, 312 U.S. 552,
557 (1941)). Again, Mr. Valdivia does not argue that it would have been futile for him to exhaust
his administrative remedies before seeking federal habeas relief or that he was prevented from
doing so. In fact, Mr. Valdivia fails to address the exhaustion issue in any respect.
       6
        A federal sentencing court often does not know when a defendant will begin his sentence.
In Mr. Valdivia’s case for example, the Southern District of Florida did not know at sentencing
when Mr. Valdivia’s state court proceedings would conclude.
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he first presents his claim to the BOP.”). If an inmate could proceed to court before

allowing the BOP to address a jail credit issue, the authority expressly provided to

the BOP would be usurped and the Court would be left to determine, in the first

instance, an issue within the BOP’s unique purview.

IV.   CONCLUSION

      IT IS THEREFORE RECOMMENDED that Petitioner Tomas Vale

Valdivia’s petition for writ of habeas corpus (Doc. 2) be dismissed, without

prejudice.

      Dated 31 May 2023.




                                       ___________________________________
                                       UNITED STATES MAGISTRATE JUDGE




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